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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                              REPORT & RECOMMENDATION
                       Plaintiff,
                                                              03-CR-6044T
               v.

FLORENCIO PADIN (aka “June” aka “Yun”),
MELVIN FLECHA-MENDOZA (aka “Melvin”),
LUIS PADIN (aka “Chulito”),
GUILLERMO BONILLA (aka “Junito”),
EDWIN PAGAN (aka “Edwin”),
DOMINGA ROSA (aka “Minga”),
JOSE DIAZ (aka “Guayama”),

                       Defendants.




                                    PRELIMINARY STATEMENT

               By Order of Hon. Michael A. Telesca, United States District Judge, dated May 30,

2003, all pretrial matters in the above-captioned case have been referred to this Court pursuant to

28 U.S.C. §§ 636(b)(1)(A)-(B). (Docket # 53).

               The superseding indictment charges defendants Florencio Padin, Melvin

Flecha-Mendoza, Luis Padin, Guillermo Bonilla, Edwin Pagan, Dominga Rosa and Jose Diaz

with conspiring to distribute, and to possess with intent to distribute, heroin and cocaine, in

violation of 21 U.S.C. §§ 841(a)(1)(B), 841(b)(1)(C) and 846. The indictment further charges

various of the defendants with substantive narcotics and firearms offenses and seeks forfeiture of

certain of their assets. (Docket # 104).
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                  On January 13, 2005, this Court issued a Report and Recommendation on

defendants’ motions to suppress photographic identifications made by two confidential

government witnesses. (Docket # 190). At the government’s request, this Court conducted a

bifurcated Wade hearing, initially considering only whether the identification procedures utilized

were unduly suggestive.1

                  At the first stage of the bifurcated hearing, law enforcement agents testified about

the procedures they utilized in obtaining photographic identifications from the two witnesses.

According to their testimony, the identifications occurred during the course of interviews with

the witnesses concerning an investigation of alleged narcotics trafficking at the Carolina Bakery.

During the interviews, the witnesses were presented with packets containing twenty-seven

photographs and asked to identify any individuals whom they recognized. The photographs were

not randomly selected; rather, each of the photographs depicted an individual who had some

relationship to the Carolina Bakery investigation. (See Docket # 190). Following the hearing,

this Court found that the procedures utilized were unduly suggestive and recommended that a

further hearing be conducted to determine whether the witnesses’ identifications were

independently reliable. (Docket # 190). By Order dated February 17, 2005, Judge Telesca

adopted the recommendation of this Court and referred the matter to this Court for a further

report and recommendation on the issue of independent reliability. (Docket # 195).




        1
            A Wade hearing refers to a hearing held pursuant to United States v. Wade, 388 U.S. 218 (1967), to
determine whether an out-of-court identification resulted from an impermissibly suggestive procedure and, if so,
whether it is independently reliable.

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                  On April 6, 2005 and May 17, 2005, this Court completed the bifurcated Wade

hearing. (Docket ## 198, 220).2 At the hearing, the government presented the testimony of

Carlos Garcia and Alexis Negron – the two previously unidentified witnesses who had made the

photographic identifications at issue. The following constitutes my recommendation concerning

the reliability of their identifications.



                                                THE HEARING

                  Although five of the seven named defendants originally challenged the witnesses’

identifications,3 now only two, Luis Padin and Melvin Flecha-Mendoza, continue to press this

challenge.4 Moreover, Padin has withdrawn his challenge to the identification of him made by

Alexis Negron and only challenges the identification made by Carlos Garcia. (Tr.B 2-3).

                  A. Testimony of Carlos Garcia: Carlos Garcia testified that at the time of the

hearing, he was detained pending federal charges and was attempting to negotiate a cooperation

agreement with the government, pursuant to which he might receive a reduced sentence. (Tr.A

6). During his direct testimony, Garcia identified a photograph of Luis Padin (“Padin”) and

identified Padin in the courtroom. (Tr.A 6-7). Garcia testified that he knew Padin as “Chulito”

and had previously had contact with him on two to four occasions at the Carolina Bakery



         2
          The transcript of the hearing conducted on April 6, 2005 is hereinafter referenced as “Tr.A __”. (Docket
# 198). The transcript of the hearing conducted on May 17, 2005 is hereinafter referenced as “Tr.B __” (Docket
# 220).

         3
            Defendants Florencio Padin and Dominga Rosa did not challenge the admissibility of the photographic
identifications.

         4
          Of the five who challenged the identifications, three have entered guilty pleas since the hearing –
Guillermo Bonilla, Jose Diaz and Edwin Pagan. (Docket ## 201, 226 and 227).

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between August 2002 and January 2003. (Tr.A 6-8). His meetings with Padin lasted from one

hour to as long as an entire day. (Tr.A 8, 57). During one such occasion, Garcia testified, he

provided Padin with cocaine and assisted him by cooking the cocaine into crack. (Tr.A 57, 63).

               Garcia further testified that on the occasions on which he had contact with Padin,

he observed him from a distance of only two or three feet and was able to recognize his face

during each meeting. According to Garcia, the lighting conditions were adequate, and Padin did

not wear anything to cover his face. (Tr.A 8-9, 59). In addition, Garcia testified that after his

initial meeting with Padin, he spoke with him on the telephone and was able to recognize Padin’s

voice. (Tr.A 58).

               Counsel for defendant Flecha-Mendoza did not appear or participate in the

hearing at which Garcia testified, notwithstanding that notice of the hearing was issued to

counsel for all defendants. (Docket # 196). At the hearing, government counsel did not question

Garcia specifically about his prior contacts with Flecha-Mendoza. In the course of testimony

about his contacts with the other defendants, however, Garcia explained that an individual whom

he knew as “Melvin” had been present at the bakery on several occasions when he was there.

(Tr.A 17, 19, 20, 40, 50 and 52).

               Following the hearing, counsel for Flecha-Mendoza was permitted to request that

Garcia be made available for further examination. (Tr.B 52). He did not do so. Rather, he

submitted a letter acknowledging Garcia’s testimony concerning “Melvin,” but asserting in

conclusory fashion that his identification should be suppressed.

               B. Testimony of Alexis Negron: On the second day of testimony, the

government called Alexis Negron, who identified a photograph of Flecha-Mendoza as an


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individual whom he had met in 1997 and knew as “Melvin.” (Tr.B 9). Negron further testified

that he had been introduced to Flecha-Mendoza through his “ex-stepfather,” Florencio Padin,

who reportedly owned the Carolina Bakery with Flecha-Mendoza. (Tr.B 9-10). Negron

explained that he was employed at the Carolina Bakery after it opened and had contact with

Flecha-Mendoza on a daily basis during his employment. (Tr.B 11, 22, 27). He also testified

that he engaged in drug transactions with Flecha-Mendoza during that time period. (Tr.B 28-30).

On the occasions on which he had contact with Flecha-Mendoza, Negron spoke with and

observed him from close distances and never had any difficulty seeing his face. (Tr.B 11). His

contacts with Flecha-Mendoza occurred before he participated in any photographic identification

procedures.5 (Tr.B 30-31).



                                REPORT AND RECOMMENDATION

                 A defendant has the right not to be subjected to an identification procedure that

creates a “very substantial likelihood of irreparable misidentification.” Manson v. Brathwaite,

432 U.S. 98, 116 (1977) (quoting Simmons v. United States, 390 U.S. 377, 384 (1968)). In

determining whether to exclude a pre-trial identification, the court must undertake a two-step

analysis. First, the court must consider, as this Court did in its January 13, 2005 Report and

Recommendation, whether the identification procedure was unduly suggestive. If so, the court

then must determine whether the identification nevertheless possessed “sufficient aspects of


        5
             Negron also testified about an additional photographic identification procedure conducted shortly after
his arrest in Broome County by a federal agent identified only as “Mike.” Although Flecha-Mendoza argues that this
procedure was impermissibly suggestive and that any subsequent procedure was thereby tainted, such argument is
unavailing. This Court has already determined that the photographic identification procedure utilized was unduly
suggestive. The question remaining is whether an independent basis exists for Negron’s identification.

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reliability.” United States v. Bubar, 567 F.2d 192, 197 (2d Cir.), cert. denied, 434 U.S. 872

(1977) (citing Manson v. Brathwaite, 432 U.S. at 109-17). “Even if the procedure was

unnecessarily (or impermissibly) suggestive, therefore, a district court may still admit the

evidence ‘if, when viewed in the totality of the circumstances, it possesses sufficient indicia of

reliability.’” United States v. Bautista, 23 F.3d 726, 729-30 (2d Cir.) (footnote omitted) (quoting

United States v. Simmons, 923 F.2d 934, 950 (2d Cir.), cert. denied, 500 U.S. 919 (1991)), cert.

denied, 513 U.S. 862 (1994).

               Having found the identification procedures utilized with Garcia and Negron to

have been unduly suggestive, this Court must now determine “whether the identification[s]

[were] independently reliable, see Manson v. Brathwaite, 432 U.S. at 109-114, or whether there

was a very substantial likelihood of misidentification.” Neal v. Kuhlmann, 1988 WL 13781 at *6

(citing Neil v. Biggers, 409 U.S. 188, 198 (1972)). In doing so, the court must consider the

factors articulated in Neil v. Biggers, 409 U.S. at 199. Those factors include “the opportunity of

the witness to view the criminal at the time of the [contact], the witness’ degree of attention, the

accuracy of the witness’ prior description of the criminal, the level of certainty demonstrated by

the witness [during the identification], and the length of time between the [contact] and the

[identification].” Id. at 199-200.

               In this case, both Garcia and Negron had extensive contact with the defendant

prior to the photographic identifications. Garcia had contact with Padin on two to four

occasions, each one of which lasted at least one hour and one of which lasted the entire day.

(Tr.A 7-8, 57). Garcia specifically recalled that during one of the meetings, he provided Padin




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with cocaine and assisted him by cooking the cocaine into crack. (Tr.A 63). Moreover, Garcia

was able to view Padin’s face clearly from a distance of only two or three feet. (TrA 8, 59).

                 Negron testified that has known Flecha-Mendoza since 1997, and indeed worked

with him on a daily basis at the Carolina Bakery. (Tr.B 11, 22). He, too, interacted with

Flecha-Mendoza from close distances and was able to observe his face clearly and without

obstruction. (Tr.B 11-12). In addition, Garcia and Negron were unequivocal in their

photographic and in-court identifications of Padin and Flecha-Mendoza, respectively.

                 In sum, the testimony of both witnesses, as illuminated by a consideration of the

factors articulated in Neil v. Biggers, establishes that their extensive contact with Padin and

Flecha-Mendoza provides an independently reliable basis for their identifications of the

defendants.6 See United States v. Wolfish, 525 F.2d 457, 462 (2d Cir. 1975) (independent basis

for identification existed where witness had three prior ten-minute meetings with defendant

during which defendant had made unusual requests), cert. denied, 423 U.S. 1059 (1976); United

States v. Alexander, 923 F. Supp. 617, 625 (D. Vt. 1996) (finding identification to be

independently reliable because witnesses had “extensive contact” with defendants over period of

several months); United States v. Shakur, 1987 WL 5368, *1 (S.D.N.Y. 1987) (denying request

for Wade hearing relating to photographic identifications by witnesses who had “extensive,

personal contacts with [defendant] in both licit and illicit activities”). Accordingly, it is my




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            Although Garcia was not questioned specifically about Flecha-Mendoza, his testimony makes clear that
he was present in the bakery on numerous occasions and had contact with “Melvin” inside the bakery on those
occasions. Indeed, counsel for Flecha-Mendoza (who was not present for the hearing at which Garcia testified) was
given the right to, but chose not to, recall Garcia to cross-examine him about his testimony. On this record, I
recommend denial of Flecha-Mendoza’s conclusory assertion by letter that the identification of him by Garcia should
be suppressed.

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recommendation that Padin’s and Flecha-Mendoza’s motions to suppress the identifications by

Garcia and Negron be denied.



                                      CONCLUSION

              For the foregoing reasons, it is my recommendation that defendants Luis Padin

and Flecha-Mendoza’s motions to suppress photographic identifications (Docket ## 139, 143) be

DENIED.



                                                    s/Marian W. Payson
                                                            MARIAN W. PAYSON
                                                         United States Magistrate Judge

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Pursuant to 28 U.S.C. § 636(b)(1), it is hereby

        ORDERED, that this Report and Recommendation be filed with the Clerk of the Court.

        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk
of this Court within ten (10) days after receipt of a copy of this Report and Recommendation in
accordance with the above statute and Rule 58.2(a)(3) of the Local Rules of Criminal Procedure
for the Western District of New York.7

        The district court will ordinarily refuse to consider on de novo review arguments, case
law and/or evidentiary material which could have been, but was not, presented to the magistrate
judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v. Massachusetts Mun. Wholesale
Elec. Co., 840 F.2d 985 (1st Cir. 1988).

       Failure to file objections within the specified time or to request an extension of such
time waives the right to appeal the District Court’s Order. Thomas v. Arn, 474 U.S. 140
(1985); Small v. Secretary of Health and Human Services, 892 F.2d 15 (2d Cir. 1989); Wesolek v.
Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

        The parties are reminded that, pursuant to Rule 58.2(a)(3) of the Local Rules of Criminal
Procedure for the Western District of New York, “written objections shall specifically identify
the portions of the proposed findings and recommendations to which objection is made and the
basis for such objection and shall be supported by legal authority.” Failure to comply with the
provisions of Rule 58.2(a)(3) may result in the District Court's refusal to consider the
objection.

        Let the Clerk send a copy of this Order and a copy of the Report and Recommendation to
the attorneys for the parties.

IT IS SO ORDERED.


                                                                s/Marian W. Payson
                                                                        MARIAN W. PAYSON
                                                                     United States Magistrate Judge

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       November 10 , 2005

        7
           Counsel is advised that a new period of excludable time pursuant to 18 U.S.C. § 3161(h)(1)(F)
commences with the filing of this Report and Recommendation. Such period of excludable delay lasts only until
objections to this Report and Recommendation are filed or until the ten days allowed for filing objections has
elapsed. United States v. Andress, 943 F.2d 622 (6th Cir. 1991); United States v. Long, 900 F.2d 1270 (8th Cir.
1990).

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